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      This Exhibit 15 sets out the previously filed evidence that supports this

Motion. Section I provides a Fed. R. Evid. 1006 summary of the key record

documents. Section II provides a listing of the previously filed documents that are

incorporated by reference.

I.    Fed. R. Evid. 1006 Summary of Incorporated Evidence
      The following summary is provided pursuant to Fed. R. Evid. 1006:

      A.     Coalition Plaintiffs’ October 2019 Motion

      On October 23, 2019, Coalition Plaintiffs moved to enjoin use of the

Dominion BMD System. (Docs. 640 (Motion), 680-1 (Reply).) The declarations

and documentary evidence submitted with the motion showed that the BMD

system—as designed—produced ballot cards with an untrustworthy QR code that

was incapable of effective verification by voters, (Doc. 640-1, at 40–45 (Stark

Decl.); id. at 53–60 (Skoglund Decl.); Doc. 680-1, at 2 (Stark Decl.); id. at 37

(Hursti Decl.); id. at 51–56 (DeMillo Decl.); id. at 173 ¶¶ 13–18 (Dufort Decl.));

and a text summary that was not actually checked or verified by many voters in

any event, (Doc. 680-1, at 2 (Stark Decl.); id. at 78–80 (Martin Decl.); id. at 138–

40 ¶¶ 33–40 (Nakamura Decl.)); that compromised ballot secrecy by timestamping

scanned ballot images, (Doc. 640-1, at 23–27 (Br.); Doc. 640-1, at 81 (Marks.

Decl., Ex. A)); that could not and did not produce accountable or auditable results

(Doc. 640-1, at 40–45 (Skoglund Decl.)); and that voters simply did not trust,



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(Doc. 640-1, at 149–54 ¶¶ 5, 7, 11, 13–16 (Missett Decl.); 680-1, at 120 (Throop

Decl.).)

      Although the Court ultimately denied Coalition Plaintiff’s motion without

prejudice because the evidence had become “dated” by August 2020, ten months

after the motion was filed, (Doc. 768, at 11), the 2019 testimony and documents

still stand unrebutted and thus continue to support granting relief now. Lynch v.

Baxley, 744 F.2d 1452, 1456 (11th Cir. 1984) (“Past wrongs do constitute evidence

bearing on whether there is a real and immediate threat of repeated injury which

could be averted by the issuing of an injunction.”).

      B.     BMD Pilots and Runoffs in 2019
      On November 5, 2019, the State conducted pilot elections in seven counties

using the Dominion BMD System, with runoffs subsequently conducted in early

December. A myriad of problems occurred in the pilots, many of which were

reported in the news (Doc. 675-2), some of which were outlined in the Secretary’s

own reported findings. (Doc. 675-1.) The Coalition Plaintiffs reported these

problems to the Court in a Status Report on December 6, 2019. (Doc. 675.) All of

the piloted BMD equipment was subject to failures, debugging issues, and

equipment malfunctions. After having observed the system’s initial operation in

pilots, the Coalition Plaintiffs supplemented their pending injunction motion with

additional evidence demonstrating that the BMDs directly violated voter privacy



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because of the enormous size of the BMD touchscreens, (Doc. 680-1, at 76–78

(Martin Decl.); id. at 93–96 (Throop Decl.); id. at 130–32 (Nakamura Decl.); id. at

173 (Dufort Decl.)); and suffered from continuation of the same electronic

pollbook errors and security defects that were a hallmark of the unconstitutional

DRE system, (Doc. 640-1, at 60–62 ¶¶ 52–56 (Skoglund Decl.); Doc. 680-1, at 50,

71 (DeMillo Decl.); id. at 76 ¶ 6 (Martin, Decl.); id. at 83–91 (Throop Decl.); id. at

191–92 (Rose Decl.)).

      After the runoffs took place, and in advance of two upcoming Q1-2020

vacancy elections, the Coalition Plaintiffs filed a second status report (Doc. 699)

with exhibits that showed that oversized BMD touchscreens deployed in the

polling places during the pilots gravely violated ballot secrecy (Doc. 699-6, at 3–4

¶¶ 6–7 & at 16–19 (Exs. C–D) (Suppl. Decl. Marks); Doc. 699-7, at 3–4 ¶¶ 8–9 &

at 6 ¶ 17 (Suppl. Decl. Dufort).

      C.     First Quarter 2020 Special Elections
      In the January and February of 2020, the Dominion BMD System was used

to conduct two legislative vacancy elections in three counties (House District 171)

and nine counties (Senate District 13), respectively. On March 11, 2020, the

Coalition Plaintiffs filed a Notice (Doc. 723) in support of their pending injunction

motion which added fifteen new declarations to the record. These declarations

proffered testimony about continuing pervasive ballot secrecy violations caused by



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the BMD touchscreens, (Doc. 723, at 17 ¶¶ 12–13, 15–18 (Throop Decl.); id. at

22–26 (Marks Decl.); id. at 31–32 (Granados Decl.); id. at 56 (McKibben Decl.);

id. at 72–74 (Smith Decl.); id. at 77–78 (Rinaudo Decl.); id. at 82 (Holko Decl.)),

as well as serious system security flaws that were clearly revealed during the

vacancy elections, (Doc. 723, at 10–11 (Roberts Decl.); id. at 40 ¶ 9 (Nakamura

Decl.)).

II.      Listing of Incorporated Documents
         The following documents are incorporated by reference here and in the

Brief:

 PACER Doc. Document Title

 Doc. 640-1,
 at 40–45          2d Supp. Decl. Philip Stark
 (640 Ex. A)

 Doc. 640-1,       Decl. Kevin Skoglund, with
 at 47–66          Attachment A (Dominion BMD ballot image sample)
 (640 Ex. B)       Attachment B (Dominion BMD ballot card summary sample)

 Doc. 640-1,
                   Decl. & V. Marilyn Marks, with
 at 68–147
                   Exhibit 1 (Dominion RFI)
 (640 Ex. C)

 Doc. 640-1,
 at 149–54         Decl. Megan Missett
 (640 Ex. D)




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PACER Doc. Document Title

Doc. 640-1,
at 156–60     Decl. Ricardo Davis
(640 Ex. E)

Doc. 640-1,
at 162–65     Decl. Laura Digges
(640 Ex. F)

Doc. 640-1,
at 167–70     Decl. William Digges III
(640 Ex. G)

Doc. 680-1,
at 2–24       3d Supp. Decl. Philip B. Stark
(680 Ex. H)

Doc. 680-1,
at 37–43      Decl. Harri Hursti
(680 Ex. J)

Doc. 680-1,   Supp. Decl. Richard DeMillo, with
at 45–72      Exhibit 1 (CV)
(680 Ex. K)   Exhibit 2 (Politico article)

Doc. 680-1,
at 74–80      Supp. Decl. Rhonda J. Martin
(680 Ex. L)

              Decl. Elizabeth Throop, with
Doc. 680-1,   Exhibit 1 (Exec. Summary, Initial Findings: Pilot Counties
at 82–126     Municipal Elections 2019)
(680 Ex. M)   Exhibit 2 (Tr. excerpts, SAFE Comm’n)
              Exhibit 3 (BMD touchscreen photo)




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PACER Doc. Document Title

              Decl. Aileen Nakamura, with
Doc. 680-1,   Exhibit 1 (compiled news reports and election officials’
at 128–68     quotations)
(680 Ex. N)   Exhibit 2 (compiled news reports and election officials’
              quotations)

Doc. 680-1,
              Supp. Decl. Jeanne Dufort, with
at 170–189
              Exhibit 1 (Morgan County Bd. notes)
(680 Ex. O)

Doc. 680-1,
at 191–93     Decl. Floyd E. Rose
(680 Ex. P)

Doc. 680-1,
              Decl. Elisa Goldklang, with
at 195–205
              Exhibit 1 (Tr. excerpts, Cobb County Bd. Elections)
(680 Ex. Q)

Doc. 675-1    Exec. Summary, Initial Findings: Pilot Counties Municipal
(675 Ex. A)   Elections 2019

Doc. 675-2
              Compiled news articles
(675 Ex. B)




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PACER Doc. Document Title

              Supp. Decl. Marilyn Marks, with
              Exhibit A (Oconee county email)
              Exhibit B-1 (Notes of conference call held by Secretary of
              State’s office)
              Exhibit B-2 (notes of questions and responses by Secretary’s
              office)
Doc. 699-6
              Exhibit B-3 (questions and responses by Secretary’s office from
(699 Ex. 6)   region calls)
              Exhibit C (HAVA complaint about BMD ballot secrecy)
              Exhibit D (touchscreen photo)
              Exhibit E (Ryan Germany email chain)
              Exhibit F (compiled quotations of election officials and news
              articles)

              Supp. Decl. Jeanne Dufort, with
Doc. 699-7    Exhibit A (Tr. excerpts, Athens Clarke County Bd. Elections
(699 Ex. 7)   meeting)
              Exhibit B (BMD power system quick reference guide)

Doc. 716-1
              Supp. Decl. Richard DeMillo
(716 Ex. 1)

Doc. 716-2
              Supp. Decl. Jeanne Dufort
(716 Ex. 2)

              Supp. Decl. Rhonda J. Martin, with
Doc. 716-3
              Exhibit A (Secetary of State emal)
(716 Ex. 3)
              Exhibit B (precinct layout paper)

Doc. 723,
              Decl. Shea Roberts, with
at 9–12
              Exhibit A (polling place layout)
(723 Ex. A)



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Doc. 723,
at 14–20      Decl. Elizabeth Throop
(723 Ex. B)

Doc. 723,
at 22–28      Supp. Decl. Marilyn Marks
(723 Ex. C)

Doc. 723,
at 30–32      Supp. Decl. Jorge Granados
(723 Ex. D)

Doc. 723,
at 34–36      Decl. Deborah Gaventa Brown
(723 Ex. E)

Doc. 723,
              Decl. Aileen Nakamura, with
at 38–43
              Exhibit A (polling place photos)
(723 Ex. F)

Doc. 723,
at 45–47      Decl. Lucia Gambino
(723 Ex. G)

Doc. 723,
at 49–52      Decl. S. Kathryn Grant
(723 Ex. H)

Doc. 723,
              Decl. Paschal McKibben, with
at 54–58
              Exhibit A (voting room photo)
(723 Ex. I)

Doc. 723,
at 60–62      Supp. Decl. Rhonda J. Martin
(723 Ex. J)



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PACER Doc. Document Title

Doc. 723,
at 64–66      Decl. Joseph Wagner
(723 Ex. K)

Doc. 723,
at 68–69      Decl. Kirk A. Lyman Barner
(723 Ex. L)

Doc. 723,
at 71–74      Decl. Priscilla Smith
(723 Ex. M)

Doc. 723,
at 76–78      Decl. Kyle Rinaudo
(723 Ex. N)

Doc. 723,
at 80–84      Decl. Carolina Holko
(723 Ex. O)

              Decl. Marilyn Marks, with
              Exhibit A (pages of paper pollbook)
Doc. 755,
              Exhibit B (petition for rulemaking)
at 5–71
              Exhibit C (letter Marks to Raffensperger)
(800 Ex. 1)
              Exhibit D (Tr. excerpts, Cobb County Bd. Elections meeting)
              Exhibit E (excerpts of State’s Dominion KnowInk RFP)




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PACER Doc. Document Title

              Decl. Joy Wasson, with
              Exhibit A (voter line photo)
Doc. 755,     Exhibit B (MVP screenshot)
at 73–99      Exhibit C (Twitter screenshot)
(800 Ex. 2)   Exhibit D (polling place data)
              Exhibit E (Tr. excerpts, DeKalb Voter Experience Forum)
              Exhibit F (Aff. Joy Wasson)

Doc. 755,     Decl. Elizabeth Throop, with
at 101–16     Exhibit A (letter)
(800 Ex. 3)   Exhibit B (Brennan Center web page)

Doc. 755,
at 118–22     Supp. Decl. Aileen Nakamura
(800 Ex. 4)

Doc. 755,     Decl. Samantha Whitley, with
at 124–35     Exhibit A (voter line photos)
(800 Ex. 5)   Exhibit B (voter line photos)

Doc. 755,
at 137–43     Decl. Beatrice Brown
(800 Ex. 6)

Doc. 755,
at 145–48     Decl. Angela Stone
(800 Ex. 7)

Doc. 755,
at 150–55     Decl. Lynn H. Palazzo
(800 Ex. 8)




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PACER Doc. Document Title

                Decl. Bruce P. Brown, with
Doc. 755,
                Exhibit A (emails)
at 157–
                Exhibit B (email)
(800 Ex. 9)
                Exhibit C (email)

                Decl. Harri Hursti, with
Doc. 802 at 6
                Exhibit A (Photo of electors list)

                Decl. Marilyn Marks, with
                Exhibit A (Photo of electors list)
Doc. 802 at     Exhibit B (excerpts of Henry County electors list)
16              Exhibit C (email)
                Exhibit D (seven ballot recap sheets)

                Decl. John T. Peterson, with
Doc. 800-4
                Exhibit 1 (Dominion employment advertisement)

Doc. 800-6      Decl. Samantha Whitley




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